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                            IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


EMOJI COMPANY GmbH,

         Plaintiff,
                                                       Case No. 22-cv-3721
v.
                                                       Judge John F. Kness
THE INDIVIDUALS, CORPORATIONS, LIMITED
LIABILITY COMPANIES, PARTNERSHIPS, AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A HERETO, et al.,

         Defendants.


     PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT AND DEFAULT JUDGMENT AGAINST
                 THE DEFENDANTS IDENTIFIED IN AMENDED SCHEDULE A

          Plaintiff EMOJI COMPANY GmbH hereby moves this Honorable Court for entry of Default and

 Default Judgment against the following Defendants, as identified by defendant number and name in

 Amended Schedule A. Plaintiff files herewith a Memorandum of Law in support. Plaintiff’s Motion for

 entry of Default and Default Judgment disposes of all remaining defendants.

                                                 Respectfully submitted,
 Dated: February 7, 2023
                                                 By:     s/Michael A. Hierl             _
                                                         Michael A. Hierl (Bar No. 3128021)
                                                         William B. Kalbac (Bar No. 6301771)
                                                         Robert P. McMurray (Bar No. 6324332)
                                                         Hughes Socol Piers Resnick & Dym, Ltd.
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                                                         Attorneys for Plaintiff
                                                         EMOJI COMPANY GmbH
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                                  CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing

Motion was electronically filed with the Clerk of the Court, served by publication and email to the

Defendants identified in Schedule A and served on all counsel of record and interested parties via the

CM/ECF system on February 7, 2023.

                                                       /s/ Michael A. Hierl
                                                       Michael A. Hierl




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